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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
                                             §
                                             §
VS.                                          §   CRIMINAL NO. H-09-29-9
                                             §
                                             §
                                             §
WILLIAM JOSEPH STONE JR.                     §


                                       ORDER

       Defendant Stone filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 548). The motion for continuance is GRANTED. The sentencing hearing

is reset to August 31, 2011, at 9:00 a.m.

             SIGNED on August 5, 2011, at Houston, Texas.

                                            ______________________________________
                                                       Lee H. Rosenthal
                                                  United States District Judge
